 

Case 2:10-cr-20194-SHM Document 4 Filed 04/28/10 Page 1 of 1

AO 442 (Rev. 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

Western District of Tennessee

 

 

 

United States of America )
v. )
) Case No. / 0 -Lb/ Gf
WILLIAM HARNESS ) ;
Defendant ) |
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) ‘WILLIAM HARNESS ’
who is accused of an offense or violation based on the following document filed with the court:

é Indictment  Superseding Indictment Ol Information © Superseding Information [ Complaint
C Probation Violation Petition ©) Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:
21 U.S.C. § 846- Attempt to possess with intent to distribute a controlled substance; and

21 U.S.C. § 843(b)- Possession of equipment, chemicals, products and materials which may be used to manufacture a
controlled substance.

Date: 04/28/2010

 

City and state: _ Memphis, TN 38103

 

 

 

 

 

Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date) 5 -(0- 20/0
at (city and state) N aohuw tle TH .
Date: 5-/0- 20/0

   

TR 14 ferezx DEA

Printed name and title

 

 

Case 3:10-mj-03028 Document1 Filed 05/10/10 Page 1 of 1 PagelD #: 1

 
